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Fill in this information to identify your case:

Debtor 1              Jawana McCraw
                      ____________________________________
                      First Name                Middle Name                Last Name                                          ☐ Check if this is an amended
Debtor 2              Click or tap here to enter text                                                                             plan, and list below the
(Spouse, if filing)   _____________________________________________________                                                       sections of the plan that have
                      First Name                Middle Name                Last Name                                              been changed.
United States Bankruptcy Court for the: EASTERN               _ District of __KENTUCKY_____
                                                                                (State)


Case number (If known)                 19-52057



 Local Form 3015-1(a)
 Chapter 13 Plan                                                                                                                                               12/17


   Part 1:            Notices


 To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate
                        that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not comply
                        with local rules and judicial rulings may not be confirmable.
                        In the following notice to creditors, you must check each box that applies.
 To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                        attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation at
                        least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy
                        Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you may
                        need to file a timely proof of claim in order to be paid under any plan.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                        includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
                        ineffective if set out later in the plan.


    1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial
              payment or no payment at all to the secured creditor
                                                                                                                                 ☒ Included       ☐ Not included
    1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in
              Section 3.4
                                                                                                                                 ☒ Included       ☐ Not included
    1.3       Nonstandard provisions, set out in Part 8
                                                                                                                                 ☒ Included       ☐ Not included


 Part 2:              Plan Payments and Length of Plan


 2.1 Debtor(s) will make regular payments to the trustee as follows:

     $ 55.00                                         per        Month                                 for    36                                            months
     $                                               per                                              for                                                  months
     $                                               per                                              for                                                  months
    Insert additional lines if needed.
        If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
        creditors specified in this plan.
 2.2 Regular payments to the trustee will be made from future income in the following manner: Check all that apply.

    ☒       Debtor(s) will make payments pursuant to a payroll deduction order.

    ☐       Debtor(s) will make payments directly to the trustee.

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  ☐    Other (specify method of payment):     Click or tap here to enter text
2.3 Income tax refunds. Check one.

  ☒    Debtor(s) will retain any income tax refunds received during the plan term.

  ☐   Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will turn
  over to the trustee all income tax refunds received during the plan term.

  ☐    Debtor(s) will treat income tax refunds as follows:   Click or tap here to enter text
2.4 Additional payments. Check one.

  ☒    None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

  ☐    Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount, and date
  of each anticipated payment.   Click or tap here to enter text
2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ Click              or tap here to enter text


Part 3:      Treatment of Secured Claims


3.1 Maintenance of payments and cure of default, if any. Check one.

  ☒   None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

  ☐    The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by the
  applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or directly by the
  debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at
  the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline under Bankruptcy Rule
  3002(c) control over any contrary amounts listed below as to the current installment payment and arrearage. In the absence of a contrary timely filed
  proof of claim, the amounts stated below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph,
  then, unless otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on that
  collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than by the debtor(s).
Name of creditor                 Collateral                          Current              Amount of          Interest        Monthly plan       Estimated total
                                                                     installment          arrearage (if      rate on         payment on         payments by
                                                                     payment              any)               arrearage       arrearage          trustee
                                                                     (including                              (if
                                                                     escrow)                                 applicable)
                                                                    $                    $                   %                                 $
                                                                    Disbursed by:
                                                                    ☐ Trustee
                                                                    ☐ Debtor(s)
                                                                    $                    $                   %              $                  $
                                                                    Disbursed by:
                                                                    ☐ Trustee
                                                                    ☐ Debtor(s)
Insert additional claims as needed.
3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

 ☒    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

 The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

 ☐    The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim listed
 below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured claim. For secured claims
 of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with the
 Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at
 the rate stated below.
 The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the
 amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety as an unsecured claim
 under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the proof of claim controls over any
 contrary amounts listed in this paragraph.
 The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest of the
 debtor(s) or the estate(s) until the earlier of:
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      (a) payment of the underlying debt determined under nonbankruptcy law, or
      (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
Name of creditor            Estimated          Collateral                Value of          Amount of         Amount of           Interest   Monthly          Estimated
                            amount of                                    collateral        claims senior     secured             rate*      payment to       total of
                            creditor’s                                                     to creditor’s     claim                          creditor         monthly
                            total claim                                                    claim                                                             payments
                           $                                             $                $                 $                    %          $                $
                           $                                             $                $                 $                    %          $                $
   Insert additional claims as needed.
     *If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points. An allowed secured tax claim shall be
     paid with interest at the applicable statutory rate in effect on the date on which the plan is confirmed, notwithstanding any contrary provision of the plan.
   3.3 Secured claims excluded from 11 U.S.C. § 506. Check one.

    ☒    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

    ☐    The claims listed below were either:
    (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal
    use of the debtor(s), or
    (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
    These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or directly
    by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the filing deadline
    under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts
    stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).
Name of creditor                              Collateral                       Amount of claim             Interest rate*     Monthly plan           Estimated total
                                                                                                                              payment                payments by
                                                                                                                                                     trustee
                                                                               $                       %                     $                       $
                                                                               Disbursed by:
                                                                               ☐ Trustee
                                                                               ☐ Debtor(s)
                                                                               $                       %                     $                       $
                                                                               Disbursed by:
                                                                               ☐ Trustee
                                                                               ☐ Debtor(s)
     Insert additional claims as needed.
     * If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points.
   3.4 Lien avoidance. Check one.

     ☒   None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

     ☐    The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
     debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest securing a
     claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The amount of the judicial
     lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any, of the judicial lien or
     security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If
     more than one lien is to be avoided, provide the information separately for each lien.

Information regarding judicial               Calculation of lien avoidance                                           Treatment of remaining
lien or security interest                                                                                            secured claim
 Name of creditor                         a. Amount of lien                           $
                                          b. Amount of all other liens                $                              Amount of secured claim after
                                                                                                                     avoidance (line a minus line f)
                                                                                                                     $

Collateral                                c. Value of claimed exemptions              +$
                                                                                                                     Interest rate (if applicable)

                                          d. Total of adding lines a, b,              $                                                                  %
                                             and c
Lien identification (such as              e. Value of debtor(s)’ interest in          −$
judgment date, date of lien                  property                                                                Monthly payment on secured
recording, book and page number)                                                                                     claim $
                                          f. Subtract line e from line d.             $
                                                                                                                     Estimated total payments on
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                                                                                                            secured claim $
                                      Extent of exemption impairment (Check applicable box):
                                      ☐ Line f is equal to or greater than line a.
                                      The entire lien is avoided. (Do not complete the next column.)
                                      ☐ Line f is less than line a.
                                      A portion of the lien is avoided. (Complete the next column.)

Insert additional claims as needed.

3.5 Surrender of collateral. Check one.

  ☒    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

  ☐   The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that upon
  confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be terminated in all
  respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.
Name of creditor                                                                     Collateral




Insert additional claims as needed.

3.6 All Other Secured Claims.
  An allowed secured claim not provided for in the plan shall be classified in a junior class of secured claims that will be paid through the plan on a pro
  rata basis with all other allowed secured claims in the class. Each allowed claim in the class will be paid to the extent of the value of the collateral set
  forth in the Creditor’s proof of claim or the amount of the allowed claim, whichever is less, with interest at the WSJ Prime Rate on the date of
  confirmation or the date on which the proof of claim is filed, whichever is later, plus 2 percentage points, or if a secured tax claim with interest at the
  applicable statutory rate in effect on the date on which the plan is confirmed. Allowed administrative expenses shall be paid in full prior to distribution
  to this class of secured claims



Part 4:       Treatment of Fees and Priority Claims


4.1 General
  Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
  postpetition interest.
4.2 Trustee’s fees

 Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be        7.1 % of plan payments; and during the
 plan term, they are estimated to total $ 140.58.
4.3 Attorney’s fees
 1. Counsel for the debtor requests compensation as follows:

  a. ☒ Pursuant to KYEB LBR 2016-2(a) an attorney’s fee for Debtor’s counsel shall be allowed in the amount of $1800.00 (not to exceed $3,500). Of
  this amount, the debtor paid $0.00 prior to the filing of the petition, leaving a balance of $1800.00 to be paid through the plan. (The Debtor/Attorney
  for Debtor have complied with KYEB LBR 2016-2(a) and this must match the Rule 2016(b) Disclosure of Compensation of Attorney For Debtor(s)).
  Any additional requests for fees or expenses will be requested by separate application.
  OR

  b.   ☐   An attorney’s fee for Debtor’s counsel will be requested by separate application and shall be paid as allowed by the Court.

 2. Until the allowed attorney’s fee is paid in full, creditors holding secured claims (including arrearage claims) shall be paid only adequate protection
 payments ordered by the Court.
4.4 Priority claims other than attorney’s fees and those treated in § 4.5. Check one.

  ☒    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

  ☐    The debtor(s) estimate the total amount of other priority claims to be $   Click or tap here to enter text.
4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount. Check one.

  ☒    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

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   ☐ The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a governmental unit
   and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision requires that payments in § 2.1 be for a term
   of 60 months; see 11 U.S.C. § 1322(a)(4).
       Name of creditor                                                             Amount of claim to be paid


         Insert additional claims as needed.


 Part 5:      Treatment of Nonpriority Unsecured Claims


 5.1 Nonpriority unsecured claims not separately classified.
      Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
      providing the largest payment will be effective. Check all that apply.

   ☐   The sum of $   Click or tap here to enter text.

   ☐ Click or tap here to enter text % of the total amount of these claims, an estimated payment of $ Click or tap here to enter text.
   ☒   The funds remaining after disbursements have been made to all other creditors provided for in this plan.

   If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ Click or tap here to
   enter text. Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.
 5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

   ☒    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

   ☐     The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below on which
   the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the debtor(s), as specified
   below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee. The final column includes only
   payments disbursed by the trustee rather than by the debtor(s).
Name of creditor                               Current installment payment          Amount of arrearage to be paid                  Estimated total
                                                                                                                                    payments by trustee
                                               $                                   $                                               $
                                               Disbursed by:
                                               ☐ Trustee
                                               ☐ Debtor(s)
   Insert additional claims as needed.
 5.3 Other separately classified nonpriority unsecured claims. Check one.

   ☒    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

   ☐    The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows.

   Name of creditor                       Basis for separate classification and          Amount to be          Interest rate (if    Estimated total
                                          treatment                                      paid on the claim     applicable)          amount of payments
                                                                                         $                     %                   $
   Insert additional claims as needed.



 Part 6:      Executory Contracts and Unexpired Leases


 6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
     and unexpired leases are rejected. Check one.

   ☒   None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

   ☐    Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject to
   any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed by the
   trustee rather than by the debtor(s).
 Name of creditor                Description of leased               Current                 Amount of         Treatment of        Estimated
                                 property or executory               installment             arrearage to be   arrearage           total
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                                 contract                          payment             paid                (Refer to other   payments
                                                                                                           plan section if   by trustee
                                                                                                           applicable)
                                                                  $                   $                                      $
                                                                  Disbursed by:
                                                                  ☐ Trustee
                                                                  ☐ Debtor(s)
 Insert additional contracts or leases as needed.



Part 7:          Vesting of Property of the Estate


7.1 Except as provided in Part 8, property of the estate in the possession of the debtor(s) and properly scheduled will vest in the debtor(s)
upon Check the applicable box:

    ☒ plan confirmation.
    ☐ entry of discharge.
    ☐ other Click or tap       here to enter text
7.2 Unless otherwise ordered, the trustee retains all lien avoidance rights provided by statute.



Part 8:          Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

 ☐       None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
 Local Form 3015-1(a) or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

 I dispute that I gave prior express consent to call or text my cell phone, but if I did I, am revoking said consent to all creditors via
 this Chapter 13 plan.
1) Any creditor with a secured claim listed in the plan must have an allowed claim in order to be paid under the plan.
2) To have an allowed claim, a secured creditor must file a proof of claim in accordance with Bankruptcy Rule 3002, except as is
   setout in section 4 below.
3) If the plan lists a claim as a secured claim and the creditor files a proof of claim under Bankruptcy Rule 3002 as unsecured, the
   claim will be treated as unsecured, the filing of such a claim will be treated as a waiver of the security interest by the creditor.
4) If a creditor with a listed secured claim fails to file a proof of claim before the deadline under Bankruptcy Rule 3002(c), the
   debtor(s) may file a proof of claim on behalf of the creditor pursuant to Bankruptcy Rule 3004, subject to the following:
    a)     If the debtor(s) choose to file a proof of claim on behalf of a creditor, the debtor(s) and counsel shall use their best efforts to
           file such claim(s) before the deadline under Bankruptcy Rule 3004.
    b) A proof of claim filed by the debtor(s) under Bankruptcy Rule 3004 will nevertheless be timely as to any secured portion of
       the claim if it is filed no later than 14 days after the trustee files a Notice of Allowance of Claims.
    c)     Unless otherwise ordered by the court, the amounts listed for secured claims in the plan control over the amounts listed in any
           proof of claim filed by the debtor(s) under Bankruptcy Rule 3004.
5) Confirmation of the plan does not constitute allowance of claims. The trustee and the debtor(s) retain their rights to object to the
   allowance of any claim.




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Part 9:      Signature(s):


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below.



  ___/s/ Jawana McCraw _____________________________                           _________________________________________
Signature of Debtor 1                                                        Signature of Debtor 2


Executed on 10-23-19 ___________                                             Executed on _____________
MM / DD / YYYY                                                               MM / DD / YYYY

  _/s/ J. D. Kermode_____________________________                           Date _10-23-19______________
Signature of Attorney for Debtor(s)                                          MM / DD / YYYY



By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording
and order of the provisions in this Chapter 13 plan are identical to those contained in Local Form 3015-1(a), other than any
nonstandard provisions included in Part 8.




Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
     out below and the actual plan terms, the plan terms control.


       a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                    $

       b. Modified secured claims (Part 3, Section 3.2 total)                                            $

       c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                       $

       d. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)             $

       e. Fees and priority claims (Part 4 total)                                                        $1800.00

       f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                      $

       g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                  $

       h. Separately classified unsecured claims (Part 5, Section 5.3 total)                             $

       i. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)       $

       j. Nonstandard payments (Part 8, total)                                                           $

           Total of lines a through j                                                                    $




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                                                    CERTIFICATE OF SERVICE

     I certify that on October 23, 2019 I mailed a copy of the Plan to the creditors.

                                                                 /s/ J. D. Kermode___________
                                                                 J. D. KERMODE
                                                                 ATTORNEY FOR DEBTOR




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